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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF RHODE ISLAND

DEBORAH LAUFER, Individually,            :
                                         :
            Plaintiffs,                  :
                                         :
v.                                       :            1:21-CV-00013-MSM-PAS
                                         :
GOLDEN GATE MOTEL ASSOCIATES             :
                                         :
            Defendant.                   :
_______________________________________/ :
                                         :
                                         :
                                         :

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       Plaintiff (“Plaintiff”), through undersigned counsel, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(i), hereby voluntarily dismisses, WITHOUT PREJUDICE, their claims

against Defendant, RLH CORPORATION. DEFENDANT Golden Gate Motel Associates is the

last remaining party.



                                             RESPECTFULLY SUBMITTED,


       Dated: March 1, 2021          By:/s/ Daniel Ruggiero
                                            Daniel Ruggiero
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